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                              IN THE UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION

JAMES T. TYNAN, JR.                                     §
                                                        §
                                                        §
VS.                                                     §        C.A. NO. 4:22-cv-1433
                                                        §
U.S. BANK, N.A.                                         §
                                                        §

                                     STIPULATION OF DISMISSAL

           Plaintiff James T. Tynan Jr. (“Plaintiff”) and Defendant, U.S. Bank Trust National

Association, as Trustee of American Homeowner Preservation Trust Series improperly named as

U.S. Bank, N.A. (“Trustee” or “Defendant”) hereby file this Stipulation of Dismissal pursuant to

Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, and would respectfully show unto

the Court as follows:

           1.        Plaintiff filed this lawsuit against Defendant seeking to delay or prevent foreclosure

by Trustee. Defendant appeared denying all claims. Plaintiff wishes to dismiss all claims against

Defendant without prejudice and the parties agree because Plaintiff recently filed for bankruptcy

protection and therefore Defendant has withdrawn its objections to dismissal and consents to

same.

           2.        In conformity with Rule 41(a)(1)(A)(ii), this Stipulation is signed by all parties who

have appeared in the action.

           3.        By this Stipulation, it is hereby stipulated all claims of Plaintiff against Defendant

are dismissed without prejudice. This Stipulation disposes of all claims and causes of action by all

parties.

           4.        Plaintiff and Defendant further stipulate that all costs of court, attorney’s fees and

other costs incurred are to be borne by the party incurring the same.


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          WHEREFORE, PREMISES CONSIDERED, all claims and causes of action brought by

Plaintiff against Defendants are dismissed without prejudice.


                                             Respectfully submitted,

                                             By: /s/ Robert C. Vilt
                                                 Robert C. Vilt
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                                                 Vilt and Associates, P.C.
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                                             ATTORNEYS-IN-CHARGE FOR PLAINTIFF


                                             By: /s/ Michael F. Hord Jr.
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                                             ATTORNEY-IN-CHARGE FOR DEFENDANT

                                CERTIFICATE OF SERVICE

       On this 7th day of September, 2022, I hereby certify that a true and correct copy of the
foregoing document was forwarded as follows:
                                        Robert C. Vilt
                                  Vilt and Associates, P.C.
                             5177 Richmond Avenue, Suite 1142
                                    Houston, TX 77056
                                          Via ECF

                                             /s/ Michael F. Hord Jr.
                                             Michael F. Hord Jr.

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